Case 6:11-cv-06169-C.]S-.]WF Document 73

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

 

UNITED STATES OF AMERICA,
Plaintiff, ORDER

v. 10-cv-06308 EAW
THE PREMISES AND REAL PROPERTY
WlTH ALL BUILDINGS, APPURTENANCES,
AND IMPROVEMENTS, LOCATED AT
6715 GOLF VIEW RISE, VICTOR,
NEW YORK, et al.,

Defendants.

 

SECURITIES & EXCHANGE COMMISSION,

Plaintiff,

v. l 1-cv-06169 EAW

CHRISTOPHER WHEELER,
OTCSTOCKEXCHANGE.COM, and
NORTH COAST ADVISORS, LLC,

Defendants.

 

WHEREAS, the above-captioned matters were transferred to the undersigned by United
States District Judge Siragusa on February ]8, 2014; and

WHEREAS, the parties have informed the Court that Defendant Christopher Wheeler
was previously represented by Wolford & Leclair LLP, a law firm with which the undersigned

was a partner through November l, 2007, and that said prior representation involved an

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investigation by the Securities & Exchange Commission in 2006 (hereinai`ter "2006 SEC
investigation"); and

WHEREAS, the parties have further informed the Court that the 2006 SEC investigation
involved conduct that was allegedly similar to the conduct at issue in one or more of the above-
captioned matters but involving different securities; and

WHEREAS, the parties have further informed the C ourt that statements made by l\/Ir.
Wheeler during the 2006 SEC investigation are being relied upon to pursue relief against l\/lr.
Wheeler in one or more of the above-captioned matters; and

WHEREAS, 28 U.S.C. § 455(b)(2) requires a judge of the United States to recuse himself
if “a lawyer with whom he previously practiced law served during such association as a lawyer
concerning the matter . . ."; and

WHEREAS, the Committee on Codes of Conduct, Judz`cz'a/ Ez‘hics C 0111}7€)16{1'11111 § 3.6-5
provides that if a former client is a party and the “former representation is in any way related to
the current litigation, recusal is mandatory no matter how long ago the representation
ended . . . ,” (i_d_., §3.6-5(a)) (emphasis added), it is hereby

ORDERED that the undersigned will recuse herself from the above-captioned matters
pursuant to 28 U.S.C. § 455(b)(2) and the cases shall be transferred to a judge of the Western
District of New York to be selected by the Clerk of the Court.

SO ORDERED.

 

Dated: February 21 , 2014
Rochester, New York

